 1                                                               The Honorable Barbara J. Rothstein

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9 PARLER LLC,

10                                      Plaintiff,        No. 21-cv-00031
11            v.                                          DEFENDANT AMAZON WEB
                                                          SERVICES, INC.’S NOTICE OF
12 AMAZON WEB SERVICES, INC.,                             INTENT TO FILE RESPONSE
13                                      Defendant.
14

15            As required by Local Civil Rule 65(b)(5), Defendant Amazon Web Services, Inc.
16 (“AWS”) provides notice that it intends to oppose Plaintiff Parler LLC’s Motion for Temporary

17 Restraining Order, which asks for an order “enjoining the defendant from suspending Parler’s

18 account with AWS or terminating the Agreement.” Dkt. 2 at 2. Local Civil Rule 65(b) permits
19 AWS to file a response within 48 hours of service of the Motion. AWS has not been served, and
20 Parler’s account was terminated the day before it filed its Motion. AWS intends to respond to

21 the Motion no later than 9 p.m. on January 12, 2021.

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                                                                              Davis Wright Tremaine LLP
     NOTICE OF INTENT TO FILE RESPONSE NO. 21-cv-00031 - 1                             L AW O FFICE S
     4848-9698-2230v.1 0050033-000653                                            920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
 1

 2            DATED this 11th day of January, 2021.

 3                                                    Davis Wright Tremaine LLP
                                                      Attorneys for Amazon Web Services, Inc.
 4
                                                      By /s/ Ambika Kumar Doran
 5                                                       Ambika Kumar Doran, WSBA #38237
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 6                                                       Seattle, WA 98104-1610
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 8
                                                         Alonzo Wickers IV, Cal. State Bar #169454
 9                                                              pro hac vice application forthcoming
                                                         865 S. Figueroa Street, Suite 2400
10                                                       Los Angeles, CA 90017
                                                         Telephone: 213-633-6800
11                                                       E-mail: awickers@dwt.com
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                                                                             Davis Wright Tremaine LLP
     NOTICE OF INTENT TO FILE RESPONSE NO. 21-cv-00031 - 2                            L AW O FFICE S
     4848-9698-2230v.1 0050033-000653                                           920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
                                                                           206.622.3150 main · 206.757.7700 fax
